                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                           DOCKET NO. 3:16-cr-00221-MOC-DCK

 UNITED STATES OF AMERICA,                    )
                                              )
                                              )
                                              )
 Vs.                                          )                      ORDER
                                              )
 ROBERT LESLIE STENCIL                        )
 DANIEL THOMAS BROYLES SR.                    )
 KRISTIAN F. SIERP                            )
 LUDMILA O. STENCIL                           )
 MARTIN DELAINE LEWIS                         )
 NICHOLAS FLEMING                             )
 MICHAEL ALLEN DUKE                           )
 PAULA SACCOMANNO                             )
 DENNIS SWERDLEN,                             )
                                              )
                  Defendants.                 )



       THIS MATTER is before the Court on the government’s Motion to Determine

Applicability of Joint Crime Exception to the Spousal Communication Privilege (#127). In the

motion, the government reflects consultation with counsel for the interested defendants, Robert

Leslie Stencil and Ludmila O. Stencil, who are married and that they oppose the motions. Counsel

for the interested parties have confirmed that they oppose the motion, but that they will not be

filing a responsive brief.

                                FINDINGS AND CONCLUSIONS

       The government requests that the Court find that the joint crime exception to the spousal

communications privilege applies and eliminates any protection over communications between

defendant Leslie Stencil and his wife, co-defendant Ludmila Stencil, relating to the criminal

scheme. Such determination would allow the government to review, inquire about, and use such

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communications, eliminating the need for a taint team which has to this point reviewed the actual

documents.

       Among the bundle of rights and privileges enjoyed by spouses is a limited right to protect

the confidentiality of certain, but not all, marital communications. The New Wigmore: Evidentiary

Privileges § 1.3. The marital privilege is in fact two distinct privileges: the spousal testimonial

privilege; and the marital communication privilege. At issue here is the marital communication

privilege, which allows either defendant-spouse to bar the disclosure of confidential

communications between him and his wife. United States v. Parker, 834 F.2d 408, 410–11 (4th

Cir. 1987).

       Private discussions and information that spouses may exchange is confidential and is

protected by the privilege. Blau v. United States, 340 U.S. 332, 333 (1951). Excepted from such

privileged status are communications or exchanges of information that have to do with the

commission of a crime in which both spouses played a role. United States v. Broome, 732 F.2d

363 (4th Cir.). Such communications fall under the joint crime exception, which requires courts

to balance the privacy of the marital relationship with the public need for the “revelation of truth

and the attainment of justice.” United States v. Parker, 834 F.2d 408 (4th Cir.1987). The privilege

is narrow and the party asserting the privilege bears the burden of establishing all of its essential

elements. United States v. Acker, 52 F.3d 509, 515 (4th Cir. 1995). The exception to the privilege

is broad and well encompasses statements made during the commission of a crime as well as

“statements made in the course of successfully formulating and commencing joint participation in

criminal activity.” Parker, 834 F.2d, at 413.

       Having carefully reviewed the Motion, the supporting memorandum, and the exhibits

attached to the memorandum, the Court finds that the communications and information outlined



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              therein fall squarely in the joint crime exception and that the public’s need for truth and the

              attainment of justice outweighs these defendants’ interest in the privacy of marital communications

              as the communications appear to relate to activities in furtherance of the alleged criminal conduct.



                                                         ORDER

                          IT IS, THEREFORE, ORDERED that the government’s Motion to Determine

              Applicability of Joint Crime Exception to the Spousal Communication Privilege (#127) is

              GRANTED, and the documents identified as spousal communications relating to the criminal

              scheme are RELEASED to the Government’s prosecution team. It is further ORDERED that the

              government is permitted to review, inquire about, and use such communications in this matter,

              including use in interviews of witnesses, court filings, and further proceedings.


Signed: August 25, 2017




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